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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO



 VINCENT DANIEL GARCIA,

                       Plaintiff,                Case No. 1:20-cv-00001-BLW

 vs.                                             SUCCESSIVE REVIEW ORDER

 SEGEANT ADAM MILLER,
 WARDEN JAY CHRISTENSEN,
 CASE MANAGER MICHAEL RICE,
 IDOC DIRECTOR JOSH TEWALT,

                       Defendants.



       The Court now reviews the Amended Complaint of Plaintiff Vincent Daniel

Garcia. (Dkt. 20.) He was previously authorized to proceed on federal and state law

failure to protect claims against Defendant Adam Miller only. (Dkts. 3, 8.)

       Plaintiff asserts that Defendant Michael Rice, his case manager, overrode

Plaintiff’s medium-custody status and placed him in closed-custody status, to be housed

with violent offenders and gang members, despite Plaintiff’s verbal requests that Rice not

change his custody status. Rice allegedly ignored Plaintiff’s safety concerns.

       Plaintiff alleges that Defendant Jay Christensen knew that members of rival gangs

were going to conduct assaults on Plaintiff’s tier, but he did nothing to take precautions

to place security staff on the tier. Plaintiff further alleges that Defendant Christensen

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knew that there was a “blind spot” that was not visible under existing camera

surveillance, but did nothing to remedy that circumstance; this “blind spot” was the place

where Plaintiff was attacked. He seeks monetary damages from Defendant Christensen in

his individual capacity and prospective injunctive relief from him in his official capacity.

       Plaintiff alleges that the state of Idaho has policies or customs that tiers be

monitored only by “indirect observations by control staff and staff monitoring of

cameras.” (Dkt. 20-2, p. 3.) He also alleges that there is a policy of “completing timely

regular tier checks,” and infers from this that there is a state policy of not doing anything

else but tier checks. (Id.) However, Plaintiff has provided no factual allegations linking

Director Tewalt to tier supervision at this particular institution or to the creation and

implementation of the alleged policies or customs applicable to Plaintiff’s institution.

Therefore, Plaintiff cannot proceed against Director Tewalt in his individual capacity.

       Plaintiff’s policy or custom claims against Director Tewalt in his official capacity

would permit Plaintiff to seek prospective injunctive relief only. A policy claim against a

state actor in his official capacity does not permit a plaintiff to assert a claim for

monetary damages, which is barred by the Eleventh Amendment. Director Tewalt is not a

necessary defendant in this action for prospective injunctive relief, because Warden

Christensen, Plaintiff’s direct custodian, is a state official who can implement any award

of prospective injunctive relief that Plaintiff might obtain in this action. For all of these

reasons, Plaintiff cannot proceed against Director Tewalt.




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                                         ORDER

       IT IS ORDERED:

1. Plaintiff’s Motion to Amend Prisoner Civil Rights Complaint (Dkt. 19) is GRANTED

   in part and DENIED in part, as specified above.

2. The Clerk of Court shall send waivers of service of summons, a copy of the Second

   Amended Complaint (Dkt. 20), and a copy of this Order, on behalf of the newly-

   added Defendants, Jay Christensen and Michael Rice, to counsel for Defendant Adam

   Miller.

3. Josh Tewalt is terminated as a party to this action.

4. Plaintiff and the new Defendants shall follow the existing Standard Disclosure and

   Discovery Order (Dkt. 7) previously entered in this case, superseded in part only by

   these deadlines for discovery and disclosures for those claims against the new

   Defendants: supplemental disclosures shall be due 60 days after the new Defendants

   file an answer; the discovery deadline shall be 120 days after the new Defendants file

   an answer; and the dispositive motion deadline shall be 150 days after the new

   Defendants file an answer.

5. Plaintiff is no longer in prison. He shall begin to pay any remaining balance on his

   filing fee to the Clerk of Court at the rate of $10.00 every month, no later than the last

   day of the month. Failure to take financial responsibility for his case may result in its

   dismissal.




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